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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                        :
            Emmanuel Thomas Tenor Duncan         :       Chapter 7
            Deborah Lynne Warner Duncan          :
                                                 :       Case No.: 23-13820-MDC
            Debtor (s)                           :

        MOTION TO CONVERT CASE FROM CHAPTER 7 TO CHAPTER 13

            Emmanel Thomas Tenor Duncan and Deborah Lynne Warner Duncan (the

   “Debtor”), by and through their undersigned counsel, hereby submits this Motion to

   Convert Chapter 7 Case to Chapter 13, and in support thereof respectfully state the

   following:

            1.     The Debtors filed a voluntary petition for relief under chapter 7 of the

   bankruptcy code on December 19, 2023 (the “Petition Date”).

            2.     As of the Petition Date, Debtor Emmanuel Thomas Thenor Duncan was

   unemployed and did not have any income whatsoever.

            3.     Subsequent to the filing, Debtor Deborah Lynne Warner Duncan disclosed

   additional income information and pay statements.

            4.     Upon further review of the Debtors’ total household income, and in light

   of the previously undisclosed income statements, the undersigned determined that the

   Debtors income is above median and therefore ineligible to proceed in a chapter 7 case.

            5.     Accordingly, the Debtors intend to proceed under a chapter 13 case, and

   understand that their current monthly disposable income will be determined and

   calculated to pay general unsecured creditors.

            6.     The Debtors shall promptly file a Chapter 13 Plan, and the necessary

   Amended Schedules to proceed under Chapter 13 of the Bankruptcy Code.
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           WHEREFORE, the Debtors respectfully request this Honorable Court enter an

   Order converting this chapter 7 case to a chapter 13 case.


                                                                Respectfully submitted,

   Dated: January 31, 2024                                      /s/Brad J. Sadek, Esq
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